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AO 440(Rev. 06/12) Summons in a Civil Action


                                    United States District Court
                                                                   for the

                                                       Eastern District of Virginia


                         Sheri Wade




                           Plaintijf(s)
                               V.                                            Civil Action No. 3:18cv828

                 Interworks Unlimited, Inc.




                          Defendant(s)


                                                   SUMMONS IN A CIVIL ACTION


To:(Defendant's name and address) InteiWOrks Unlimited, InC.
                                  Eric H. Lu - Registered Agent
                                      2418 Peck Road
                                          City of Industry, OA 90601




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12(a)(2) or(3)— you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Jonathan E. Halperin
                                      Halperin Law Center
                                      5225 Hickory Park Drive
                                      Suite B
                                          Glen Allen, VA 23059


       If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT

                                                                                      A   ■
Date:         11/30/2018                                                              m
                                                                                          Signature ofClerk or Deputy Clerk
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                                                                                                                          3:18-cv-00828- MHL
AFFIDAVIT FOR SERVICE OF PROCESS ON THE                                                       Case No.
SECRETARY OF THE COMMONWEALTH
Commonwealth of Virginia     Va. Code §§ 8.oj-301,-329; 55-218.1; 57-51
                                                                                                             District Court

                             Sheri Wade                                       y                            Interworks Unlimited, Inc.
                         Halperin Law Center
     5225 Hickory Park Drive, Ste. B, Glen Allen, VA 23059                                      2418 Peck

TO THE PERSON PREPARING THIS AFFIDAVIT: You must comply with the appropriate requirements listed on the back ofthis form.

                                                                                                                                t
Attachments: [ ]Warrant ^ Motion for Judgment [ ]
I, the undersigned Affiant, state under oath that:                                                                             JAN 2 2 2019
                                                                                                                                                           y
[X] the above-named defendant          []
whose last known address is: [ ]same as above [X]


1.    1X1 is a non-resident ofthe Conunonwealth of Virginia or a foreign corporation and Virginia Code § 8.01-328.1(A)
           applies(see NON-RESIDENCE GROUNDS REQUIREMENT on reverse).
     [ ] is a person whom the party seeking service, after exercising due diligence, has been unable to locate (see DUE DILIGENCE
           REQUIREMENT on reverse) and that
                                              is the return date on the^ttaehca"warrant, motion for judgirieu^or notice(see TIMELY
                                              SERVICE REQUI                ylCNT uil ICVj^).

              01^^019
                  DATE                                        [ ]PARTY            |>q PARTY'S ATTORNEY          ]PAPTVC AfiFNIT


State of                                                                     [ ]City [V^^County of
Acknowledged, subscribed and Si                                        3.!^               of....^a.ovAQy.4
                                               PUBLIC
                                  g      t       756^9                        [ ]CLERK [ ]MAGISTRATE                                           expires....U.T.jo-aoa.i)
        NOTARY REGISTRATION NUMBER i                                                                         NOTARY PUBLIC        commission




[ ] Verification by the clerk oi                                      ling oftlie certificate of compliance requested. A self-addressed stamped
      envelope was provided to tf                                fing ofthis Affidavit.

NOTICE TO THE RECIPIENT                                         Executive Secretary ofthe Commonwealth of Virginia:
           You are being served with this notice and attachecl pleadings under Section 8.01-329 ofthe Code of Virginia which designates
           the Secretary of the Commonwealth as statutory agent for Service of Process. The Secretary of the Commonwealth's ONLY
           responsibility is to mail, by certified mail, return receipt requested, the enclosed papers to you. If you have any questions
           concerning these documents, you may wish to seek advice from a lawyer.
 SERVICE OF PROCESS IS EFFECTIVE ON THE DATE WHEN SERVICE IS MADE ON THE SECRETARY OF THE
 COMMONWEALTH.

                                                          CERTIFICATE OF COMPLIANCE
 1, the undersigned, Clerk in the Office ofthe Secretary<ijoLth.e;,jQommonwealth, hereby certify the following:
 1. On                                       hlAM...^...?...2.Q.1.9         ^legal service in the above-styled case was made upon the Secretary ofthe
       Commonwealth,as statutory agent for persons to be served^n accordance with Section 8.01-329 ofthe Code of Virginia, as amended.
 2. On                                                            papers described in the Affidavit and a copy of this Affidavit were
    forwarded by certified mail, return receipt requested, to the party designated to be served with process in the Affidavit.

                                                                                       SERVICE OF PROCESS CfiliftBrt>ESIONATED BY THE AUTHORITY OF THE
                                                                                                     SECRETARY OF THE COMMONWEALTH



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